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Attorneys for Plaintiffs
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CV¥11 05301—4«Gr

BEHNAM PARTTYELI and
FARZAD PARTIYELL COMPLAINT FOR DAMAGES FOR
VIOLATIONS OF CIVIL RIGHTS
Plaintiffs, UNDER COLOR OF STATE LAW
AND SUPPLEMENTAL STATE-
v, LAW TORTS

COUNTY OF LOS ANGELES, DEMAND FOR JURY TRIAL

CITY OF VERNON, LOS
ANGELES SHERIFF'S
DEPARTMENT, SERGEANT JIM
ANDERSON, DEPUTY SHERIFF
JEFFERY JACKSON, and DOES 1
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XYZ DISTRIBUTORS, Inc.,

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Defendants.

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JURISDICTION AND VENUE
1. This case atises under 42 U.S.C. § 1983. Accordingly, subject matter
jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343. Plaintiffs’

state-law claims are within the Court’s supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367.
2. Plaintiffs’ claims arise out of a course of conduct involving officials of the

County of Los Angeles, in the County of Los Angeles, State of California, and within
this judicial district.
PARTIES

3, Plaintiffs Behnam “David” Partiyeli and Farzad “Fred” Partiyeli ate adults
competent to sue. David Parttyeli was age 46 and Fred Parttyeli age 44 at the time of
the incident. ‘hey are the officers and shareholders of plaintiff XYZ Distributors,
Inc., (XYZ) a California corporation doing business in Vernon, California.

4. Defendant County of Los Angeles (COLA) is a legal and political entity
established under the laws of the State of California, with all the powers specified and
necessarily implied by the Constitution and laws of the State of California and
exercised by a duly elected Board of Supervisors, and their agents and officers.
Defendant Los Angeles Sheriff's Department (LASD) is a public agency subject to suit.

5. Defendant City of Vernon, as of the time of the filing of this complaint,
was a city incorporated under the laws of the State of California, with all the powers
specified and necessarily implied by the Constitution and laws of the State of California
and exercised by a City Council, and its agents and officers.

6. Defendants Detective Jeffrey S. Jackson (#281373) and Sergeant Jim
Anderson are LASD deputy sheriffs. In committing the acts herein alleged, they acted
within the scope of his employment and undet color of state law.

7, On information and belief, plaintiffs allege that defendants acted in

concert with agents and employees of ‘Target Corporation (Target), The Vons

Companies, Inc., (Vons), Gillette, the government of the United States and the Federal

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Bureau of Investigation (FBI), the Los Angeles Police Department (LAPD) and other
governmental and private entities and actors. As of the filing of this complaint,
however, plaintiffs lack sufficient information and belief to name such persons,

companies and entities as defendants.

8. ‘The true names of defendants Does 1 through 10 ate presently unknown
to plaintiffs, who therefore sue each of these defendants by such fictitious name; but
upon ascertaining the true identity of a defendant Doe, plaintiffs will amend this
Complaint or seek leave to do so by inserting the true name in lieu of the fictitious
name. Plaintiffs are informed and believe, and on the basis of such information and

belief allege, that each defendant Doe herein is in some manner responsible for the

injuries and damages herein alleged.

FACTS
Background on Plaintiffs and XYZ

a At all times relevant hereto, plaintiffs operated XYZ out of offices and a
26,000-square-foot warehouse located at 2335 East 52nd Street in Vernon, California.
Since 1992, XYZ has been a very reputable, well established wholesale and distribution
business, with annual sales for many years prior to 2010 in excess of $12 million. XYZ.
buys product from manufacturers, distributors, jobbers and wholesalers, and sells to
retail businesses as well as other wholesalers and distributors. Sales are made overseas
and on line through XYZ’s own web site and commercial sites such as E-Bay. At the
time of this incident, XYZ distributed product to over 150 7-11 retail stores on a daily
basis.

10. XYZ frequently buys discontinued products, closeouts and seconds from
jobbers, who acquire the merchandise at liquidations and other distress sales.
Sometimes product is putchased and sold at steep discounts. XYZ’s profit margins
tend to be thin, and XYZ depends on rapid turnover to stay in business.

11. XYZ conducts considerable business on line, and has sophisticated

computers and softwate to manage its transactions. It has employed numerous

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employees, uses certified accountants and pays payroll and income taxes.

12. The two individual plaintiffs, brothers David Parttyeli and Fred Partiyeli,
have no criminal history. Both were born in Iran and are now naturalized United States
citizens.

The Stolen Property Investigation and the Warrant

13. Plaintiffs are informed and believe from paperwork and statements by
defendants that this incident arose after three people were arrested for shoplifting at a
Vons store in Santa Clarita. The thieves told LASD Santa Clarita detectives that they
wete selling stolen merchandise to a “fence” operating out of a warehouse near Sixth
and Broadway in downtown Los Angeles. Any such operation was completely
unknown to and had nothing to do with XYZ or any of its principals or employees.

14. Apparently, the detectives set up a “sting,” and sold Gillette merchandise
packed in cases with a tracking device to the “fence,” representing the Gillette
metchandise to be stolen. Plaintiffs, apparently, purchased the Gillette merchandise
with the tracking device from a downtown jobber in a bona fide purchase for market
value. Plaintiffs had no reason at all to believe that the merchandise purchased was
stolen.

15. Apparently, through sloppy and inadequate detective work, the LASD
detectives confused plaintiff Fred Partiyeli with another individual, Fred Ben
Eneliyahu, who was well known as a “jobber” for 10 to 18 years in downtown and
maintained a warehouse neat Sixth and Broadway. Plaintiffs had no knowledge
whether Fred Ben Eneliyahu had any involvement with stolen goods. XYZ did,
however, purchase a small amount of Gillette products, packed in cases for wholesale
distribution, from him in a bona fide sale for market value shortly before the raid.

16. On or about June 22, 2010 Detective Jeffrey Jackson applied for and
obtained a search warrant, No. 19-086, from Los Angeles Superior Court Judge
Graciela L. Freixes of the North Valley District, Santa Clarita Courthouse. In the

application for the warrant, Detective Jackson knowingly or recklessly made several

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false and misleading representations and omitted facts material to the determination of
probable cause.

17. For example, Det. Jackson wrote that LAPD detectives determined that
“product sold” at the downtown location “was transported to” XYZ. There is no
indication that the aforementioned “product sold” was stolen, or that the transaction
with XYZ was anything other than a bona fide sale for market value. There are no
supporting facts on how the LAPD acquired the information or on what that
conclusion was based, There is mention of a confidential informant, but no statement
of what he or she said about XYZ, no basis to determine whether the informant was
reliable, and no suggestion than anything the informant said was ever cotroborated or
had anything to do with XYZ. It is false that stolen goods purchased at the downtown

location were transported to the XYZ warehouse for storage and resale. As mentioned

 

 

 

above, the one transaction tracked by GPS was part of a bona fide sale for value.

18. Regardless, the application did not state sufficient probable cause for the
search of the XYZ warehouse and the other areas specified therein, and did not justify
the seizure of the items listed in the warrant application — computers and electronic
media — much less the inventory not identified for seizure in the warrant application.
The application fails to provide any nexus between XYZ and the persons involved in
trafficking of the stolen merchandise. The application does not mention any principal
or employee of XYZ, or any nexus between any such person and the purchase of the
alleged stolen property at the downtown Los Angeles location. Furthermote, the
application fails to provide re is no indication that the detectives exercised any due
diligence concerning XYZ before applying for the warrant. The application only

vaguely alleges that some unidentified merchandise somehow wound up in the XYZ.

 

warehouse. The crucial link — some indication that the people at XYZ who acquired
the purportedly stolen merchandise from the downtown location had reason to suspect

it was stolen — is not stated in the warrant application.

19. The warrant application submitted by Det. Jackson and signed by Judge
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Freixes did not itemize with reasonable particularity the places to be searched or items
to be seized. Instead, it just stated that the detectives could look everywhere for and
seize all computer equipment and electronic media, and spend as long as they want
searching through memory, tncluding deleted files, for evidence of transactions in
stolen property. The warrant authorized the indefinite seizure and search of all
computers and electronic storage media, including cell phones and related devices, to
see whether “a thorough examination of all seized items of computer evidence . . . will

lead to the discovery of additional evidence that a crime has occurred by the selling of

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stolen property” through a web site. As such, the warrant was in fact a general warrant

10 | in violation of both the letter and spirit of the Fourth Amendment.

1] The Execution of the Warrant and the Arrest of Fred Partiyeli

12 20. OnJune 24, 2010, at about 10:00 a.m., a large task force comprised of

13 || deputy sheriffs from the Santa Clarita Valley Detective Bureau of the Los Angeles

14 || Sheriff's Department, various Vernon Police Department officers, employees of

15 || Target, Vons and Gillette, perhaps some federal agents and Los Angeles Police

16 || Department officers, and othets whose identities and employers are presently not

17 || known to plaintiffs, executed the facially invalid warrant at the XYZ Vernon

18 | warehouse. As stated above, plaintiffs do not have sufficient facts at this time to name
19 || any of these additional individuals or entities as defendants. Present at the time of the
20 || raid were Fred Parityeli, his father and his minor son, 14 employees, and a customer.
21 || Defendants and the others barged into the warehouse, SWAT style, pointing firearms
22 } and yelling commands at everyone present.

23 21. ‘Fred Parityeli was taken to his office and interviewed by the LASD

24} defendants. He cooperated with the investigators and answered all their questions. It
25 || was in the course of this interrogation that he learned the detectives wete probably

26 || confusing him with Fred Ben Eneliyahu. Fred Partiyeli told an LASD sergeant that

27 | there was a veteran jobber in the area, by the name of Fred Ben Eneliyahu, well known
28 || in the Los Angeles wholesale district, and Farzad Parttyeli had heard that he had a

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warehouse on the sixth floor at Sixth and Broadway in downtown Los Angeles. He
recalled to the investigators that the jobber Fred had sold some Gillette merchandise to
XYZ the day before.

22. Nevertheless, defendants arrested Fred Parityeli without probable cause,
and took him all the way from Vernon to the Santa Clarita sheriffs substation. Fred
Parityeli held for about 18 hours, at the end of which he was released pursuant to Cal.
Penal Code § 849(b)(1).

23. Meantime, the defendants spent three days — not finishing until about
8:00 p.m. on Saturday, June 26 — executing the warrant. Defendants seized items not
listed for seizure in the warrant, including $48,105.00 in cash from a safe. Defendants
hauled off approximately 85 percent of the XYZ inventory, which had a value of about
$4 million, in fifty truckloads of Target and, perhaps, Vons trucks.

24, The warrant did not authorize the seizure of cash, the taking of any
inventory or the arrest of Fred Partiyeli. There were no subsequent arrests and no
prosecution relating to any of the seizures at XYZ.

The Aftermath of the Raid

25. During and following the search, defendants told XYZ customers and
vendors that XYZ had been seized due to criminal activity and is no longer in business.
LASD Set. Jim Anderson announced to the media about XYZ that “the warehouse
owners paid shoplifters for goods they stole at retailers across Los Angeles County,”
and called “XYZ Distributors in Vernon” a place “where the fenced goods were
processed for resale.” According to one report, “Anderson said that after their
investigation on Thursday, the business owner was artested and faces felony charges of
receiving stolen property. ‘He does dabble in some legitimate trade, but his ability to
operate at all is based on this illegal activity,’ [Sgt. Anderson] concluded.” Elsewhere,
Set. Anderson stated, “that all of the product may not be stolen, but that a good
portion of it could be tainted with drug money.” Sgt. Anderson had no basis in fact

whatsoever for these statements, and uttering them, or words to similar effect, to

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1 || customers, vendors and the media, constituted “defamation plus” and entitles
2 |, defendant to damages under the Federal Civil Rights Act.
3 26. ‘To this date, one can “google” XYZ Distributors and access these news
41} reports, which defendants never corrected, leaving a permanent and indelible stain on
5 || plaintiffs’ previously pristine business reputation.
6 27. Defendants took other actions during and after the raid to damage
7 || plaintiffs’ bustness and reputation. Plaintiffs are still in the process of tabulating all
8 || those acts and the resulting damages, but among other things, defendants improperly
9 | froze bank accounts and froze and seized the PayPal account of XYZ on E-Bay, where
10 |j the plaintiff company transacted considerable business.
11 28. Plaintiffs were compelled to engage civil and criminal defense attorneys to
12 || secure the prompt return of their money, inventory and computers. Despite plaintiffs’
13 }| voluntarily producing invoices to demonstrate that the seized inventory was not stolen,
14!| defendants refused to cooperate by returning any of the property seized. After
15| attempts to informally resolve or at least narrow the dispute went nowhere — mostly
16 | because defendants did not present a case to the Los Angeles County District
17 | Attorney’s Office and would not return plaintiffs’ attorneys’ phone calls — in July 2010,
18 } plaintiffs filed a motion for return of the property with Judge Freixes. Without any
19] basis, defendants opposed the motion.
20 29. On September 3, 2010, Judge Freixes granted the motion to compel the
21 || return of plaintiffs’ property. The minute order states:
22 The Court finds seizure pursuant to search of XYZ Distributors
23 Warehouse exceeded the scope of warrant issued by the Court. Los
24 Angeles Sheriff's Department is ordered to return . . . [the seized
25 computer equipment and electronic memory,] U.S. curtency of $48,105.00
26 and 50 truckloads of merchandise removed from XYZ Distributors
27 Warehouse on 6/25/2010.
28 || Accordingly, that the defendants seized property beyond the scope of the warrant has
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been determined by a court in an action to which defendants were a patty and is now

collateral estoppel.
DAMAGES

30. Plaintiffs have been economically devastated by the foregoing events.
They lost access to all their business records, including orders, accounts teceivables,
and sales records, for almost three months. They lost all their credit lines. They lost
access to $4 million worth of goods they needed to sell or deliver. They were forced to
lay off irreplaceable employees with significant knowledge of their business affairs.
They lost an invaluable amount of goodwill. ‘They lost their lucrative 7-11 retail
accounts. Plaintiffs lost the opportunity to conduct business, and lost past and future
income. In fact, plaintiffs have incurred substantial losses, and will continue to incur
losses in the future. Plaintiffs are still assessing their business losses, which are ongoing,

and will present proof at trial of their past and future losses. ‘These losses amount to

millions of dollars.

31. Asadirect and proximate result of the aforesaid acts, omissions, customs,
practices, policies and decisions of the defendants, the individual plaintiffs were injured
in theit health and person. They suffered and will continue to suffer great mental and
physical suffering, anguish, fright, nervousness, anxiety, shock, humiliation, indignity,
embatrassment, harm to reputation, and apprehension, which have caused plaintiffs to
sustain damages in a sum to be determined at trial. XYZ has sustained irreparable
damage to its business reputation and damage to its goodwill.

32. Asa further direct and proximate result of the acts, omissions, customs,
ptactices, policies and decisions of the defendants, plaintiffs incurred legal expenses,
which have caused plaintiffs to sustain damages in a sum to be determined at trial.

33. The individually named and doe defendants, excluding defendants County
of Los Angeles, Los Angeles Sheriff's Department, and City of Vernon, acted under
color of law, and both separately and in concert. The aforementioned acts of the

defendants, and each of them, was willful, wanton, malicious and oppressive, with

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reckless disregard or with deliberate indifference and with the intent to deprive
plaintiffs of their constitutional rights and privileges, and did in fact violate the
aforementioned rights and privileges, entitling plaintiffs to exemplary and punitive
damages in an amount to be proven at the trial of this matter.
EXHAUSTION OF ADMINISTRATIVE REMEDIES

34. On December 20, 2010, plaintiffs filed claims for damages with COLA
and the City of Vernon based on the events and allegations alleged in this complaint.
On February 3, 2011, both entities gave notice that they were denying the claims.
Plaintiffs timely filed this complaint thereafter.

CLAIMS FOR RELIEF
FIRST CLAIM FOR RELIEF
DEPRIVATION OF CIVIL RIGHTS -— 42 U.S.C. § 1983

35. Defendants, and each of them, while acting under color of law, deprived
plaintiffs of their constitutional rights by violating rights under the First, Fourth, Fifth
and Fourteenth Amendments, These violations include, but ate not limited to,
obtaining a warrant invalid for (1) lack of probable cause, (2) false or misleading
staternents and omissions, and (3) lack of particularity. ‘The warrant was served in an
unreasonable manner, and defendants seized items not authorized for seizure by the
warrant. Defendants without justification refused to return plaintiffs’ property, and
thereby denied them property without due process of law. Defendants subjected
plaintiffs to excessive force, detention and arrest not based on reasonable suspicion or

ptobable cause. Defendants subsequently defamed plaintitfs to their customers and

23 | vendors, and in the media, causing extensive damages to their personal and business

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reputations and to XYZ’s goodwill.

36. The above acts and omissions, while carried out undet color of law, have
no justification or excuse in law, and instead constitute a gross abuse of governmental
authority and power, shock the conscience, are fundamentally unfair, arbitrary and

opptessive, and unrelated to any activity in which governmental officers may

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appropriately and legally undertake in the course of protecting persons or property, or
ensuring civil order. The above acts and omissions were consciously chosen from
among various alternatives.

37. Plaintiffs are informed and believe and thereon allege that, at all times
herein mentioned, defendants COLA and LASD, with deliberate indifference, and
conscious and reckless disregard to the safety, security and constitutional and statutory
rights of plaintiffs, including the right to be free from unreasonable searches and
seizures under the Fourth Amendment, and the right to procedural and substantive due
process, maintained, enforced, tolerated, ratified, permitted, acquiesced in, and/or
applied, among others, the following policies, practices and customs:

(a) failing to adequately train, supervise, and control its deputies in the

constitutional limits to investigations and the law applicable to warrants;

(b) failing to adequately train, supervise and control its deputies in searches,

detention and/or arrest;

(c) failing to adequately discipline deputies involved in constitutional

violations or otherwise abusing their authority; and

(d) condoning and encouraging its deputies in the belief that they can violate

the rights of persons such as the plaintiff in this action with impunity, and that

such conduct will not adversely affect their opportunities for promotion and
other employment benefits.

38. As a direct and proximate result of the foregoing, plaintiff sustained injury
and damage as proved.

SECOND CLAIM FOR RELIEF
(Cal. Civ. Code §§ 51.7, 52 and 52.1)

39. Defendants’ conduct constituted interference by violence, threats,
intimidation, or coercion, or attempted interference, with the exercise of enjoyment by
plaintiffs of rights secured by the Constitution and laws of the State of California,

including interference with plaintiffs’ rights to be secure in theit person and free from

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unreasonable searches and seizures under Cal. Const. Art. 1 sec. 13.
40. Defendants acted out of a discriminatory, anti-immigrant and anti-
Middle-East animus, perceiving the individual plaintiffs to have these characteristics.
41. The foregoing wrongful acts of defendants caused plaintiffs injuries and

damages as alleged in this complaint.

42. Hach of the two individual plaintiffs is entitled to statutory damages of

$25,000.00.
THIRD CLAIM FOR RELIEF

(Conversion and Trespass to Chattels)
43. Defendants seizure of personal property and refusal to return the
property on demand interfered with plaintiffs’ rights to possession of that property and

resulted in a conversion of the property.

44. Asadirect and proximate cause of the aforementioned acts of
defendants, plaintiffs were injured as set forth above, and are entitled to

compensatory and punitive damages according to proof.

FOURTH CLAIM FOR RELIEF
(Interference with Prospective Business Advantage)
45. By virtue of the foregoing, defendants deliberately interfered with
plaintiffs’ prospective business advantages proximately causing their injuries.
46. Asa direct and proximate cause of the aforementioned acts of

defendants, plaintiffs were injured as set forth above, and are entitled to compensatory

and punitive damages according to proof.
FIFTH CLAIM FOR RELIEF

(Negligence)
47. By virtue of the foregoing, defendants owed plaintiffs a duty of due care,
and that duty was breached in that defendants’ negligence and failure to exercise due
care in dealing with plaintiffs proximately causing their injuries.

48. Asa direct and proximate cause of the aforementioned acts of

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| || defendants, plaintiffs were injured as set forth above, and are entitled to compensatory
2 || damages according to proof.
3 PRAYER
4 WHEREFORE, plaintiffs requests relief as follows, and according to proof,
5 || against each defendant:
6 1. General and compensatory damages in an amount according to proof;
7 2. Special damages in an amount according to proof;
8 3. Exemplary and punitive damages against each defendant other than the
9 || County of Los Angeles, the Los Angeles Sheriff's Department, and the City of Vernon,
10 |] in an amount according to proof;
11 4, Costs of suit, including attorneys’ fees, under 42 U.S.C. § 1988 and under
12 || California Civil Code §52, and 52.1; and,
13 5. Such other telief as may be warranted or as is just and proper.
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15 || Dated: June 24, 2011 KERENDIAN & ASSOCIATES, INC,
P THE LAW OFFICES OF JOHN BURTON
f ey
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By:
18 | ¥  John Burton
19 , | Attorneys for Plaintiffs
20 DEMAND FOR JURY TRIAL
21 Plaintiffs demand trial by jury.
22
Dated: June 24, 2011 NDIAN & ASSOCMATES, INC.
23 TH LAW i TICES — HN BURTON
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge John Kronstadt and the assigned discovery
Magistrate Judge is Frederick F. Mumm.

The case number on all documents filed with the Court should read as follows:

CV11- 5301 JAK (FFMx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on aif defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following Socation:

Western Division L] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 96012 Santa Ana, CA 92701-4516 Riverside, CA 92504

Failure to file at the proper location will result in your documents being returned to you.

 

 

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Central District of California

XYZ Distributors, aed Partiyeli and Farzad cy 1 1 0) 5 3 0) 1 JAM (EFM)
)

Plaintiff

v. Civil Action No,

)
County of Los Angeles, City of Vernon, Los Angeles )
Sheriffs Department, (continued on attachment) )

)

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P. 12 (a)(2} or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: John Burton, LAW OFFICES OF JOHN BURTON
65 North Raymond Avenue, Suite 300
Pasadena, CA 91103 Tel: 626 449-8300

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT
CHRISTOPHE RED

  
  
 
 

Date: 06/24/2011

  

Signature of CH?
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Attachment to Summons in a Civil Action

(Defendants continued)
Sergeant Jim Anderson, Deputy
Sheriff Jeffery Jackson, and
Does 1 to 10,

Defendants.
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

C I personally served the summons on the individual at (piace)
on (date) ;or

(1 i left the summons at the individuai’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

Cl I returned the summons unexecuted because ; Or

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

| declare under penalty of perjury that this information is true.

Date:
Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 2:11-cv-05301-JAK-FFM Document1 Filed 06/24/11 Page 180f19 Page ID #:18

UNITED STAT... DISTRICT COURT, CENTRAL DISTRICT ur CALIF ORNIA
CIVIL COVER SHEET

I (a) PLAINTIFFS (Check box if you are representing yourself C)) DEFENDANTS
XYZ DISTRIBUTORS, INC, BEHNAM PARTIYELI and COUNTY OF LOS ANGELES, CITY OF VERNON, LOS ANGELES

FARZAD PARTIYELI SHERIFF'S DEPARTMENT, SERGEANT JIM ANDERSON, DEPUTY
SHERIFF JEFFERY JACKSON and DOES’! to 10

 

(b} Attomeys (Firm Name, Address and Telephone Number. If you are representing Attomeys (if Known)
yourself, provide same.)
John Burton, State Bar Ne. 86029
LAW OFFICES OF JOHN BURTON, 65 North Raymond Ave., Suite 300
Pasadena, CA 91103

 

 

IL, BASIS OF JURISDICTION (Place an X in one box only.) ITE, CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
1110.8. Government Plaintiff wt 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State 1 ©1 — incorporated or Principal Place 04 [4
of Business in this State
O2U.S. Government Defendant O04 Diversity (indicate Citizenship | Citizen of Another State O2 2 Incorporated and Principal Place O5 O15
of Parties in Item 313) of Business in Another State
Citizen or Subject ofa Foreign Counvy 03 03 Foreign Nation O06 O86

 

 

TV. ORIGIN (Place an X in one box only.)

af 1 Original O12 Removed from ()3 Remanded from (14 Reinstated or O15 Transferred from another district (specify): O6 Muhi- (7 Appeal to District

Proceeding State Court Appellate Court Reopened : District Judge from
Litigation Magistrate Judge

¥. REQUESTED IN COMPLAINT: JURY DEMAND: Wf Yes O No (Check ‘Yes’ only if demanded in complaint.}

CLASS ACTION onder F.R.C.P, 23: 0 Yes No O MONEY DEMANDED IN COMPLAINT: §

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite Junsdictional statutes unless diversity.)
U.S.C. section 1983 - police misconduct

VII. NATURE OF SUIT (Place an X in one box only.)

 

 

 
    
 
  

    

     
 
  
 
  
    
 
 
  

       

       
  
  

        

 

     

   
 
 
 
   

           
 

    

  
 

     

   

Be a Es F :
(2400 State Reapportionment {0 1170 _ BER
0410 Antitrust 120 Marine bo. PROPERTY: 11510 Motions to
[1430 Banks and Banking (0130 Miller Act D315 Airplane Product [0370 Other Fraud Vacate Sentence
0450 Commerce/ICC 146 Negotiable Instrument Liability 0371 Truth in Lending Habeas Corpus
Rates/etc, 0150 Recovery of 1320 Assault, Libel [7380 Other Personal {£1530 General
(2460 Deportation Overpayment & Slander Property Damage |[7 535 Death Penalty
11470 Racketeer Infiuenced Enforcement of [3330 Fed. Employers’ |r 396 Property Damage FO $40 Mandamus/ Disclosure Act
and Conupt Judgment _ a ___ Product Liabili Railway Labor Act
Organizations O15t Medicare Act : ey ee ae Other Labor
1480 Consumer Credit (1152 Recovery of Defaulted [7345 a, 422 Appeal 28 USC Litigation
7 _rieiaes TV . Student Loan (Excl. 350 Motor Vehicle 158 ‘
elective Service . Veterans} 11355 Motor Vehicle 423 Withdrawal28 [EA
01850 Securities/Commodities/ C1 153 Recovery of Product Liability USC 157 _/O6l
Exchange Overpayment of 360 Other Personal or 0620 Other Food &
O875 Customer Challenge 12 Veteran's Benefits Injury 0441 Voting Drug
USC 3410 11160 Stockholders’ Suits {ty 362 Personal Injury. |(2442 Employment [1625 Drug Related
(1890 Other Statutory Actions [11 190 Other Contract Med Malpractice [0443 Howsing/Acco- Seizure of ig 1h eee
C1891 Agricuttural Act 0195 Conizact Product (1365 Personal Injury- mnnodations Property 2] USC HIA (1395)
(#892 Economic Stabilization Liability Product Liability |[2 444 Weifare 881 Black Lung (923)
Act 196 Franchise (368 Asbestos Personat (11445 Americanwith {01630 Liquor Laws 0863 DIWCDIWW
0893 Environmental Matters | t : te Injury Product Disabilities - (640 RR. & Truck (405(g))
01894 Energy Allocation Act Land Condemnation Employment O1650 Airline Regs SSID Titie XV1
(1895 Freedom of Info. Act {€1 220 Foreclosure ae aed 446 American with {1 660 Occupational RSI (405(2))
11900 Appeal of Fee Determi- |41 230 Rent Lease & Ejectment |L 462 Naturalization Disabilities - Safety ‘Health Pee
nation Under Equal (240 Torts to Land Application Other 690 Other 0870 Taxes (U.S. Plaintiff
_ Access to Justice C1245 Tort Product Liability [[1463 Habeas Corpus-  fyf440 Other Civil or Defendant)
(1950 Constimtionality of [1 290 All Other Real Property Alien Detainee Rights 1871 IRS-Third Party 26
State Statutes 0 465 ou Immigration USC 7609
cons

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: — Case Number: :
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

 

CV-71 (05/08) CIVIL COVER SHEET Page J] of 2
Case 2:11-cv-05301-JAK-FFM Document1 Filed 06/24/11 Page 19o0f19 Page ID #:19

UNITED STAT»:,3 DISTRICT COURT, CENTRAL DISTRICT Ur CALIFORNIA
CIVEL COVER SHEET

VIN (a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? wNo 0 Yes
If yes, ist case number(s):

 

VHI(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No D Yes
If yes, list case numberfs):

Civil cases are deemed related if a previously filed case and the present case:
{Check all boxes that apply) 0 A. Arise from the same or closely related transactions, happenings, or events: or

CB. Call for determination of the same or substantially related or similar questions of law and fact; or

fC. For other reasons would entail substantial duplication of labor if heard by different judges; or

OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

1X. VENUE: (When completing the following information, use an additional sheet if necessary.)

{a} List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
O Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* Califomia County outside of this District; State, if other than California; or Foreign Country

Los Angeles

 

 

 

 

(b) List the County in this District; Caiifornia County outside of this District; State if other than California; or Foreign County, in which EACH named defendant resides.
QD Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item {c).

California County outside of this District: State. if other than California; or Foreign Country

 

_ County in this District:*
Los Angeles

 

 

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

California County outside of this District; State, if other than California; or Foreign Country

 

County in this District:*

 

Los Angeles

 

 

 

 

  
  

* Los Angeles, Orange, San Bernardino, Riversid

tura, Santa Rarbara, og San Lujs Obispo Counties
Note: tn land condenmation cases, use the location o: a

i \ (\ Date June 24, 201]

     
 

X. SIGNATURE OF ATTORNEY (OR PRO PER):

'
Notice to Counsel/Parties: The CV-71 (JS-44) Civil C§ver Sitéet and the info¥mation contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This fonn, approved ¢ Judicial Conference of the United States in September | 974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of staffstics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:
Nature of Sui Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
Program. (42 U.S.C. 1935FF(b)}

862 BL All claims for “Black Lamg” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C, 923)

863 DIWwC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended, (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age} and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g)}

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
